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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                   9/4/2020
---------------------------------------------------------------X
HAO ZHE WANG,                                                  :   19-cv-9506 (JMF) (RWL)
                                                               :
                                    Plaintiff,                 :   ORDER
                                                               :
                  - against -                                  :
                                                               :
VERIZON COMMUNICATIONS, INC., et al.                           :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This resolves Defendants’ request for a stay or extension of discovery pending

determination of their motion to dismiss. (Dkt. 103.) The Court does not know when the

motion to dismiss will be resolved (as a dispositive motion the motion will be decided by

the District Judge). Discovery as to the 25 Defendants who Defendants assert have no

involvement in the matter in dispute is stayed until resolution of the motion to dismiss.

Discovery as to Plaintiff and the one remaining Defendant shall go forward. The request

to extend the discovery period is denied as there remains ample time to complete

discovery on the current schedule. Should circumstances change, the Court will entertain

a future application for adjustment of the schedule as needed.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: September 4, 2020
       New York, New York
